                     Case 1:21-mc-50658-TLL ECF No. 7,AUSA:
                                                       PageID.76
                                                             WilliamFiled  08/31/21
                                                                     J. Vailliencourt Jr. Page   1 of 7(313) 920-3193
                                                                                           Telephone:
AO 93 (Rev. 11/13) Search and Seizure Warrant                  Task Force Officer:   Evan Zapolski                 Telephone: (989) 439-5276


                                           UNITED STATES DISTRICT COURT
                                                                                                             I hereby certify that the foregoing is a true copy
                                                                                                             of the original on file in this office.
                                                                        for the                              Clerk, U.S. District Court
                                                              Eastern District of Michigan                   Eastern District of Michigan

                                                                                                             By: s/Kristen MacKay
                  In the Matter of the Search of                           )                                     Deputy

              (Briefly describe the property to be searched                )
               or identify the person by name and address)                 )     Case No. 21-cr-50658-2
      218 Storch Street, Saginaw, MI 48602.                                )
                                                                           )
                                                                           )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the                         Eastern   District of        Michigan                                       .
(identify the person or describe the property to be searched and give its location):

See ATTACHMENT A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
See ATTACHMENT B.




        YOU ARE COMMANDED to execute this warrant on or before May 24, 2021                         (not to exceed 14 days)
       ✔ in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the presiding United States Magistrate Judge on duty        .
                                                                                                 (United States Magistrate Judge)

          Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
         for       days (not to exceed 30)      until, the facts justifying, the later specific date of                                                           .


Date and time issued:          May 10, 2021        2:03 pm
                                                                                                         Judge’s signature

City and state:        Flint, Michigan                                                        Curtis Ivy, Jr., U. S. Magistrate Judge
                                                                                                       Printed name and title
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                       ATTACHMENT A
         DESCRIPTION OF THE PREMISES TO BE SEARCHED
   218 STORCH STREET, SAGINAW, MI 48602 (the “Target Residence”)

      The Target Residence is described as a one-story house with beige siding,

gray shingles, and white window trim and includes a detached garage that is on the

south side of the residence. The front storm door and garage door are white in

color. There are porch columns that have a stone base. The numbers “218” are

displayed on the stone base for the porch column nearest the driveway. The house

sits on the south side of Storch Street. The Target Residence is the second house to

the south of Adams Boulevard and is pictured below.




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                         ATTACHMENT B
            LIST OF ITEMS TO BE SEIZED AND SEARCHED
                 218 STORCH STREET, SAGINAW, MI 48602

      1.     All visual depictions, including still images, videos, films or
other recordings of child pornography or minors engaged in sexually
explicit conduct, as defined in Title 18, United States Code, Section 2256,
and any mechanism used for the receipt or storage of the same, including
but not limited to:

            a.     any computer, computer system and related
      peripherals; tapes, cassettes, cartridges, streaming tape,
      computer disks, disk drives, video display monitors, printers,
      modems, routers, tape drives, system disks, magnetic disks,
      internal/external hard drives, scanners, and other computer
      related operation equipment; any electronic and/or digital
      data storage devices, including but not limited to, hardware,
      software, diskettes, tapes, DVD's, CD's, flash memory devices,
      cellular telephones, tablets, and other storage mediums;

           b.    books and magazines containing visual depictions of
      minors engaged in sexually explicit conduct, as defined in 18
      U.S.C. §2256;

           c.    originals, copies, and negatives of visual depictions
      of minors engaged in sexually explicit conduct, as defined in
      18 U.S.C. §2256; and

            d.    motion pictures, films, videos, and other recordings of
      visual depictions of minors engaged in sexually explicit conduct,
      as defined in 18 U.S.C. §2256;

      2.     Information or correspondence pertaining to the possession,
receipt or distribution of visual depictions of minors engaged in sexually
explicit conduct, as defined in 18 U.S.C. § 2256, that were transmitted or
received using computer, some other facility or means of interstate or
foreign commerce, common carrier, or the U.S. mail including, but not
limited to:


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            a.    envelopes, letters, and other correspondence
      including, but not limited to, electronic mail, chat logs, and
      electronic messages, establishing possession, access to, or
      transmission through interstate or foreign commerce,
      including by United States mail or by computer, of visual
      depictions of minors engaged in sexually explicit conduct, as
      defined in 18 U.S.C. §2256; and,

            b.    books, ledgers, and records bearing on the
      production, reproduction, receipt, shipment, orders, requests,
      trades, purchases, or transactions of any kind involving the
      transmission through interstate or foreign commerce
      including by United States mail or by computer of any visual
      depiction of minors engaged in sexually explicit conduct, as
      defined in 18 U.S.C. §2256;

      3.    Any and all cellular telephone and the content of the any cellular
phone including but not limited to contact names, addresses and telephone
numbers, text messages, emails, calendars, notes, photographs, and any items
demonstrating ownership of the cellular telephone;

      4.    For any computer or storage medium whose seizure is
otherwise authorized by this warrant, and any computer or storage
medium that contains or in which is stored records or information that is
otherwise called for by this warrant, evidence of who used, owned, or
controlled the computer or storage medium at the time the things
described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords,
documents, browsing history, user profiles, email, email contacts, "chat,"
instant messaging logs, photographs, and correspondence;

      5.   In order to search for the items described above that may be
maintained in electronic media, law enforcement personnel seek
authorization to search, copy image and seize the following items for off-site
review:

            a.    Any computer equipment and storage device capable
      of being used to commit, further or store evidence of the offense
      listed above;


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           b.    Any computer equipment used to facilitate the
     trans1nission, creation, display, encoding or storage of data,
     including word processing equipment, modems, docking
     stations, monitors, printers, plotters, encryption devices, and
     optical scanners;

           c.    Any magnetic, electronic or optical storage device
     capable of storing data, such as floppy disks, hard disks, tapes,
     CD's, DVD's, optical disks, printer or memory buffers, smart
     cards, PC cards, memory calculators, electronic dialers,
     electronic notebooks, and personal digital assistants;

           d.   Any documentation, operating logs and reference
     manuals regarding the operation of the computer equipment,
     storage devices or software;

           e.   Any applications, utility programs, compilers,
     interpreters, and other software used to facilitate direct or
     indirect communication with the computer hardware, storage
     devices or data to be searched;

          f.    Any physical keys, encryption devices, dongles, and
     similar physical items necessary to gain access to the computer
     equipment, storage devices or data;

           g.    Any passwords, password files, test keys, encryption
     codes or other information necessary to access the computer
     equipment, storage devices or data;

          h.    Files, records, programs, logs, electronic
     communications, scanning programs, financial records,
     hacking software, and router configuration software.

     6.    Any and all cameras, film, or other photographic equipment;

      7.    Records, in whatever form, of personal and business activities
relating to the operation and ownership of the computer systems, such as
telephone records, notes, books, diaries, reference materials, and
documents regarding purchase or repair;


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     8.    Records, in whatever form, pertaining to accounts held with
Internet Service Providers or of Internet use; and

      9.    Deeds, titles, bills, invoices, and other indicators of ownership
or occupancy of desktop computers, laptop computers, tablets, and other
similar devices; documents reflecting names, addresses, and telephone
numbers; bank records; all records or documents identifying the location
of safety deposit boxes or other possible repositories for pornography; and
any keys or other access devices associated with such depositories;

      10. If any safes or other locked containers are found on the premises,
locksmiths may be used to open the safe or container either on the premises, or if
reasonably necessary, any safe container may be moved off-premises to be opened.




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                                                                   Return
Case No.:                              Date and time warrant executed:        Copy of warrant and inventory left with:
21-cr-50658-2                          5-13-21                                   Matthew Wazny
Inventory made in the presence of :
 Matthew Wazny
Inventory of the property taken and name of any person(s) seized:
   1) Desktop - home built, black in color
   2) LG LS675 w/ SIM & 16 GB micro SD
   3) Seagate 500 GB hard drive, SN: Z3T9JFP6
   4) Seagate 2 TB hard drive, SN: 5YD4EBNN
   5) Western Digital 160 GB hard drive, SN: WCANMC599604




                                                                Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:      8-24-21
                                                                                    Executing officer’s signature

                                                                         Task Force Officer Evan Zapolski
                                                                                       Printed name and title
